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UNITED STATES DISTRICT COURT

District of Arizona

In the Matter of the Search of:

SUBJECT PARCEL: USPS Retail Ground parcel
bearing USPS tracking number 9534 6265 0696
2245 8593 92, addressed to “Nick Vice, 5542 S SEARCH WAR RANT Q
Walker Ave, Oklahoma City, OK 73109” with a CaseNumber: 2) - SO ado (N
return address of “AriZona Materials LLC, 3636 S

43rd Ave. Phoneix AZ 85009”. It is large brown

cardboard box USPS Retail Ground label

measuring approximately 15” x 12” x 10”;

weighing approximately 17 pounds and 15.2

ounces; postmarked September 2, 2022; and

bearing $26.60 in postage.

TO: ANTOINE MARTEL and any Authorized Officer of the United States

Affidavit having been made before me by Affiant, Antoine Martel, UNITED STATES POSTAL INSPECTOR,
on the premises known as:

SUBJECT PARCEL: : USPS Retail Ground parcel bearing USPS tracking number 9534 6265 0696 2245 8593
92, addressed to “Nick Vice, 5542 S Walker Ave, Oklahoma City, OK 73109” with a return address of
“AriZona Materials LLC, 3636 S 43rd Ave. Phoneix AZ 85009”. It is large brown cardboard box USPS Retail
Ground label measuring approximately 15” x 12” x 10”; weighing approximately 17 pounds and 15.2 ounces;
postmarked September 2, 2022; and bearing $26.60 in postage.

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841(a)(1), 843(b) and 846, AS EVIDENCE OF SAID VIOLATIONS.

I am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises above described and establishes grounds for the issuance of this warrant.

YOU ARE HEREBY COMMANDED to search on or before Q - 20 - Q a (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly

return this warrant to any United States Magistrate Judge, District of Arizona as required by law.

OF -6 * a al g 3 \ dO p, WN ~ at Phoenix, Arizona

 

 

Date and Time Issued \ City and State
HONORABLE JOHN Z. BOYLE G-bx—
UNITED STATES MAGISTRATE JUDGE

 

 

Name and Title of Judicial Officer Signature of Judicial Officer
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UNITED STATES DISTRICT COURT

District of Arizona

 

In the Matter of the Search of:
SUBJECT PARCEL: : USPS Retail Ground

parcel bearing USPS tracking number 9534 6265 APPLICATION AND AFFIDAVIT
0696 2245 8593 92, addressed to “Nick Vice, 5542 FOR SEARCH WARRANT
S Walker Ave, Oklahoma City, OK 73109” with a Case Number; Qa) ~ ¢ ol Cp

return address of “AriZona Materials LLC, 3636 S
43rd Ave. Phoneix AZ 85009”. It is large brown
cardboard box USPS Retail Ground label
measuring approximately 15” x 12” x 10”;
weighing approximately 17 pounds and 15.2
ounces; postmarked September 2, 2022; and
bearing $26.60 in postage.

I, ANTOINE MARTEL, being duly sworn, depose and state as follows:
Iam a UNITED STATES POSTAL INSPECTOR and have reason to believe that on the premises known as:

SUBJECT PARCEL: : USPS Retail Ground parcel bearing USPS tracking number 9534 6265 0696 2245 8593
92, addressed to “Nick Vice, 5542 S Walker Ave, Oklahoma City, OK 73109” with a return address of
“AriZona Materials LLC, 3636 S 43rd Ave. Phoneix AZ 85009”. It is large brown cardboard box USPS Retail
Ground label measuring approximately 15” x 12” x 10”; weighing approximately 17 pounds and 15.2 ounces;
postmarked September 2, 2022; and bearing $26.60 in postage.

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, which is CONTRABAND, THE FRUITS OF
CRIME, OR THINGS OTHERWISE CRIMINALLY POSSESSED,

in violation of Title 21, United States Code, Sections 841(a)(1), 843(b) and 846. The facts to support the issuance
of a Search Warrant are as follows:

SEE ATTACHED AFFIDAVIT OF ANTOINE MARTEL, WHICH IS MADE A PART HEREOF.
© Digitally signed
cg ag. By HEATHER
Authorized by AUSA Heather Sechrist "\®® 5x05 0006

12:53:10 -07°00" Digitally signed by Antoine Martel

A ntoi Nn e M a rtel one 2022.09.06 12:56:45 -07'00'

Sworn to me telephonically, and subscribed

 

 

 

electronically Signature of Affiant - ANTOINE MARTEL
September 6, 2022 @o_ 3 ‘ OOp »A_. at Phoenix, Arizona
Date \ City and State

HONORABLE JOHN Z. BOYLE Gexn—

UNITED STATES MAGISTRATE JUDGE
Name and Title of Judicial Officer Signature of Judicial Officer

 
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AFFIDAVIT AND STATEMENT OF PROBABLE CAUSE
I, Antoine Martel, being duly sworn, hereby depose and state as follows:

1, I am a Postal Inspector with the U.S Postal Inspection Service and have been
since February 2019. I completed a 14-week basic training course, which included training
in the investigation of narcotics trafficking via the U.S. Mail, as well as the 40-hour
Advanced Contraband Interdiction and Investigation course. I am currently assigned to the
Phoenix Division, specifically to the Contraband Interdiction and Investigations (C12) team
in Arizona, which is responsible for investigating narcotics violations involving the U.S.
Mail. My responsibilities include the detection and prevention of the transportation of
controlled substances through the U.S. Mail. Part of my training as a Postal Inspector
included narcotics investigative techniques, chemical field-testing, and training in the
identification and detection of controlled substances being transported in the U.S. Mail.

2. I have assisted on narcotics investigations of individuals for violations of
Title 18, United States Code, Section 1956(h) (Conspiracy to Commit Money Laundering),
as well as Title 21, United States Code, Sections 841(a)(1) (Possession with Intent to
Distribute a Controlled Substance), 843(b) (Use of a Communication Facility to Facilitate
the Distribution of a Controlled Substance), and 846 (Conspiracy to Possess with Intent to
Distribute a Controlled Substance). The facts and information contained in this Affidavit
are based on my training and experience, or that of other Postal Inspectors and law
enforcement officers involved in this investigation as described below.

3, This Affidavit is made in support of an application for a search warrant for

one United States Postal Service (USPS) parcel (the “SUBJECT PARCEL”). The
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SUBJECT PARCEL is believed to contain controlled substances or proceeds from the
sale of controlled substances.

4, The SUBJECT PARCEL is further described as follows:

One : USPS Retail Ground parcel bearing USPS tracking number 9534 6265
0696 2245 8593 92, addressed to “Nick Vice, 5542 S Walker Ave, Oklahoma
City, OK 73109” with a return address of “AriZona Materials LLC, 3636 S
43rd Ave. Phoneix AZ 85009”. It is large brown cardboard box USPS Retail
Ground label measuring approximately 15” x 12” x 10”; weighing
approximately 17 pounds and 15.2 ounces; postmarked September 2, 2022;
and bearing $26.60 in postage.
BACKGROUND

5. From my training and experience, as well as the training and experience of
other Postal Inspectors on the PMNT, I am aware that the USPS mail system is frequently
used to transport controlled substances and proceeds from the sale of controlled substances
to areas throughout the United States. When a drug trafficker learns that a mailed article
has not arrived as scheduled, he/she often becomes suspicious of any delayed attempt to
deliver the item.

6. Based on my training and experience regarding Retail Ground operations, I
am aware that the Retail Ground service was created as a less expensive alternative to
Priority Mail and Express Mail overnight delivery. The USPS provides a tracking service
though a USPS tracking number, which allows the customer to track the parcel and confirm

delivery.
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7. Retail Ground is a significantly less expensive method of mailing than
Express Mail, particularly when next-day service is not required. I also know that the
characteristics of Retail Ground business mailings are similar to Priority Mail and Express
Mail business mailings. Examples of typical business mailings conducted via Retail
Ground include books, clothing, pharmaceuticals, and consumer goods purchased from
online retailers.

8. From my training, personal experience, and the collective experiences related
to me by other Postal Inspectors on the PMNT who specialize in investigations relating to
the mailing of controlled substances and proceeds from the sale of controlled substances, |
am aware that the State of Arizona is a source location for controlled substances based on
its proximity to the United States-Mexico border. As such, controlled substances are
frequently transported from Arizona via USPS, and proceeds from the sale of controlled
substances are frequently returned to Arizona via USPS.

9. Based on my training and experience regarding the use of Retail Ground to
transport controlled substances and the proceeds from the sale of controlled substances, I
am aware these parcels usually contain some or all of the following characteristics:

a. The parcel contains a label with handwritten address information and is
addressed from one individual to another individual;

b. The handwritten label on the parcel does not contain a business account
number, thereby indicating that the sender likely paid cash;

c. The parcel either: (a) was destined for an area known to be a frequent

destination point for controlled substances, having been mailed from an
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area known to be a source area for controlled substances; or (b) originated
from an area known to be a frequent origination point for proceeds from
the sale of controlled substances, having been mailed to an area known to
be a destination area for proceeds from the sale of controlled substances.
10. Retail Ground parcels found to meet some or all of the characteristics
described above are often scrutinized by Postal Inspectors through address verifications
and an examination by a trained narcotics detecting canine.
RELEVANT FACTS PERTAINING TO THE SUBJECT PARCEL
11. Onor about September 2, 2022, the United States Postal Inspection Service
(“USPIS”) identified two suspicious parcels, mailed by the same individual at two separate
locations. The return address for both parcels reflect two different businesses in downtown
Phoenix, located miles away from the mailing location in Scottsdale, Arizona. One parcel
was sent from a Post Office in Scottsdale, Arizona to an address previously identified as
an address suspected of receiving narcotics by local Postal Inspectors and the postage was
paid in cash. We are allowing that parcel to be sent to the destination city for further law
enforcement action. The second parcel (the SUBJECT PARCEL) was mailed twenty
minutes later from a Contracted Postal Unit (CPU) in Scottsdale, Arizona, destined for
Oklahoma City, Oklahoma. We were unable to verify whether the postage for the
SUBJECT PARCEL was paid in cash, as there was no response from the CPU. This parcel
is now being held in Arizona.
12. OnSeptember 2, 2022, members of USPIS conducted a physical examination

of the SUBJECT PARCEL and observed that it met some of the characteristics listed in
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Paragraph 9 above. Specifically, 1) the SUBJECT PARCEL has handwritten information
that does not contain a business account number, 2) the SUBJECT PARCEL weighs 17
pounds and 15.2 ounces and, 3) the SUBJECT PARCEL originated from an area known
to be a source area for controlled substances, mailed to an area known to be a frequent
destination point for controlled substances.

13. Based on my training, experience, and the collective experiences related to
me by other Postal Inspectors on the PMNT who specialize in investigations relating to the
mailing of controlled substances and proceeds from the sale of controlled substances, I am
aware that Arizona is frequently a source location for controlled substances that are mailed
to Oklahoma, and that proceeds from the sale of controlled substances are frequently
returned to Arizona from Oklahoma via USPS.

14. | Members of the USPIS conducted a database query regarding the names and
addresses listed on the SUBJECT PARCEL in Consolidated Lead Evaluation and
Reporting (CLEAR), a law enforcement database accessible to me. CLEAR associates
addresses and telephone numbers to individuals and business entities. The CLEAR
database is created from credit reports, law enforcement reports, utility records, and other
public records.

15. Through the CLEAR database query, investigators learned that the delivery
address for the SUBJECT PARCEL, 5542 South Walker Ave, Oklahoma, City,
Oklahoma 73109, is an existing, deliverable address, but the purported recipient, Nick
Vice, does not associate to the delivery address. The return address for the SUBJECT

PARCEL, 3636 South 43rd Avenue, Phoenix, Arizona 85009, is an existing, deliverable
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address, for Arizona Materials LLC.

16. From my training, personal experience, and the collective experiences related
to me by other Postal Inspectors on the PMNT who specialize in investigations relating to
the mailing of controlled substances, it is common for drug traffickers to omit the name(s)
of persons associated with a particular address, to use purported names not associated with
a particular address, and to utilize fictitious names and addresses to evade detection by law
enforcement.

CANINE EXAMINATION OF THE SUBJECT PARCEL

17. On September 2, 2022, City of Mesa Police Department (MPD)
Detective/Canine Handler Dawn Haynes and her narcotics-detecting canine “Nicole”
inspected the SUBJECT PARCEL in Phoenix, Arizona. Detective Haynes advised that
“Nicole” gave a positive alert to the SUBJECT PARCEL at approximately 6:29 p.m. by
lying down next to the SUBJECT PARCEL.

18. Detective Haynes described that, when “Nicole” lays down next to an item
as she did, “Nicole” is exhibiting a “passive” alert that “Nicole” has been trained to
give. Detective Haynes stated the “passive” alert given by “Nicole” indicates the presence
within the SUBJECT PARCEL of heroin, cocaine, marijuana, and/or methamphetamine,
or currency, notes, documents, or evidence bearing the presence of the odors of heroin,
cocaine, marijuana, and/or methamphetamine.

19. Detective Haynes advised that she is an MPD Detective currently assigned
to the handling and care of MPD narcotics-detecting canine “Nicole.” Detective Haynes

has been a law enforcement officer with MPD for 21 years. “Nicole” is a five-year-old
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Belgian Malinois who has been working drugs/narcotics detection for the MPD since
February 2020. “Nicole” and Detective Haynes currently hold a National Certification in
drugs/narcotics detection by the National Police Canine Association (NPCA). This is a
yearly certification and “Nicole” and Detective Haynes were last certified in March
2022. Detective Haynes’ certifications also include the completion ofa canine certification
course presented by Alpha canine training facility. “Nicole” is trained to detect the odors
of cocaine, marijuana, heroin, methamphetamine, and their derivatives. Detective Haynes
advised that, since “Nicole” began working at the MPD, “Nicole” has had over 100
successful finds (both training finds and finds that have contributed to active
investigations) of controlled substances or proceeds from the sales of controlled
substances.

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CONCLUSION
20. Based on these facts, there is probable cause to believe the SUBJECT
PARCEL described above contains controlled substances or proceeds from the sale of
controlled substances, constituting evidence of violations of Title 21, United States Code,
Sections 841(a)(1) (Possession with Intent to Distribute a Controlled Substance), 843(b)
(Use of a Communication Facility to Facilitate the Distribution of a Controlled Substance),

and 846 (Conspiracy to Possess with Intent to Distribute a Controlled Substance).
Antoine Martel pxtessextsostzsea1 2700"
ANTOINE MARTEL
United States Postal Inspector

 

Subscribed electronically and sworn telephonically on this __ 6th __ day of September,
2022.

HONORABLE JOHN Z. BOYLE
UNITED STATES MAGISTRATE JUDGE

 
